Case No. 1:08-cv-01741-ZLW Document 2 filed 08/15/08 USDC Colorado pgiof3

FILED
IN THE UNITED STATES DISTRICT COURT —ENTED STATES DISTRICT CouRT

FOR THE DISTRICT OF COLORADO DENVER, COLORADO

AUL L @ ZUUB
Civil Action No. 08 7 CV ™ 0 ] c 4 1

GREGORY C.
(The above civil action number must appear on all future papers RYC LANGHAM

sent to the court in this action. Failure to include this number
may result in a delay in the consideration of your claims.)

ARCHIE J. POOLE,
Plaintiff,
Vv.
JUDGE M. JON KOLOMITZ, Bent County District Court,

Defendant.

ORDER DIRECTING CLERK TO COMMENCE CIVIL ACTION AND
DIRECTING PLAINTIFF TO CURE DEFICIENCY

Plaintiff has submitted a Prisoner's Motion and Affidavit for Leave to Proceed
Pursuant to 28 U.S.C. §1915, and a Prisoner Complaint. As part of the court’s review
pursuant to D.C.COLO.LCivR 8.2, the court has determined that the submitted
documents are deficient as described in this order. Notwithstanding the deficiencies,
the clerk of the court will be directed to commence a civil action. Plaintiff will be
directed to cure the following if he wishes to pursue his claims. Any papers which the
Plaintiff files in response to this order must include the civil action number on this order.

28 U.S.C. § 1915 Motion and Affidavit:

(1) __ — is not submitted

(2) _ _ is missing affidavit

(3) X is missing certified copy of prisoner's trust fund statement for the 6-month
period immediately preceding this filing (Account statement submitted is
not certified by a prison official.)

(4) __ is missing required financial information

(5) __ is missing an original signature by the prisoner

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(6) __ is not on proper form (must use the court's current form)

(7) names in caption do not match names in caption of complaint, petition or
hah ann avnlinntinan

(8) _ An original and a copy have not been received by the court.
Only an original has been received.

(9) _ — other:

Complaint, Petition or Application:

(10) _ is not submitted

(11) __ — is not on proper form (must use the court's current form)

(12) __ is missing an original signature by the prisoner

(13) _  ismissing page nos.

(14) _  —_ uses et al. instead of listing all parties in caption

(15) |  Anoriginal and a copy have not been received by the court.

(16) _ Sufficient copies to serve each defendant/respondent have not been
received by the court.

(17) __ names in caption do not match names in text

(18) _  ~— other

Accordingly, it is
ORDERED that the clerk of the court commence a civil action in this matter. It is
FURTHER ORDERED that the Plaintiff cure the deficiencies designated above

within thirty (30) days from the date of this order. Any papers which the Plaintiff

files in response to this order must include the civil action number on this order. It is
FURTHER ORDERED that, if the Plaintiff fails to cure the designated

deficiencies within thirty (30) days from the date of this order, the complaint and the

action will be dismissed without further notice. The o thel be without prejudice.

DATED at Denver, Colorado, this_|2~ day of 2008.

BY THE COURT:

CRAIG B."SHAFFER
United States Magistrate Judge
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

CERTIFICATE OF MAILING

civiActionNo. "R= CV-QL74]

Archie Poole

Prisoner No. 90046

Crowley County Corr. Facility
6564 State Hwy. 96

Olney Springs, CO 81062-8700

| hereby certify that | have mailed a copy of the ORDER to the above-named
individuals on sJo§
GREGORY C. LANGHAM, CLERK

By.

p Deputy Clerk

